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                                                                              2017 Feb-22 PM 01:58
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

JEFFREY COZZI,                              )
          Plaintiff,                        )
                                            )
v.                                          ) Case No: 2:14-cv-1768-KOB-TMP
                                            )
CITY OF BIRMINGHAM, et. al.,                )
           Defendants.                      )

                                     ORDER

      In conformity with the Memorandum Opinion entered contemporaneously

with this Order, the court

      (1) OVERRULES all of Cozzi’s objections EXCEPT his objections

regarding whether Detective Thomas had arguable probable cause to arrest Cozzi;

      (2) ADOPTS the magistrate judges report and ACCEPTS his

recommendation on all claims EXCEPT the false arrest claim against Cedrick

Thomas in Count Two;

      (3) GRANTS the Defendants’ motion for summary judgment as to Count

One (unlawful search of Cozzi’s home under § 1983) and Count Three (excessive

force under § 1983) as to all Defendants;

      (4) GRANTS the Defendants City of Birmingham, G.H. Montgomery,

Detective Jones, and Detective Lampley’s motion for summary judgment as to the

false arrest claim in Count Two;

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      (5) DENIES Defendant Cedrick Thomas’ motion for summary judgment as

to the false arrest claim in Count Two; and

      (6) GRANTS the Defendants’ motion for summary judgment as to the ADA

and Rehabilitation Act claims in Count Four.

      DONE and ORDERED this 22nd day of February, 2017.




                                ____________________________________
                                         KARON OWEN BOWDRE
                                        CHIEF UNITED STATES DISTRICT JUDGE




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